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 6                            UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEVADA
 7
 8   SECURITIES AND EXCHANGE                     Case No.: 2:22-cv-00612-JCM-EJY
     COMMISSION,
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                 Plaintiff,                      PLAINTIFF SECURITIES AND
10        vs.                                    EXCHANGE COMMISSION’S
                                                 SUPPLEMENTAL MEMORANDUM
11   MATTHEW WADE BEASLEY; BEASLEY               OF POINTS AND AUTHORITIES IN
     LAW GROUP PC; JEFFREY J. JUDD;              SUPPORT OF PRELIMINARY
12                                               INJUNCTIVE RELIEF
     CHRISTOPHER R. HUMPHRIES; J&J
13   CONSULTING SERVICES, INC., an Alaska
     Corporation; J&J CONSULTING SERVICES,
14   INC., a Nevada Corporation; J AND J
     PURCHASING LLC; SHANE M. JAGER;
15   JASON M. JONGEWARD; DENNY
     SEYBERT; and ROLAND TANNER;
16
                 Defendants;
17
     THE JUDD IRREVOCABLE TRUST; PAJ
18   CONSULTING INC; BJ HOLDINGS LLC;
     STIRLING CONSULTING, L.L.C.; CJ
19   INVESTMENTS, LLC; JL2 INVESTMENTS,
     LLC; ROCKING HORSE PROPERTIES,
20   LLC; TRIPLE THREAT BASKETBALL,
21   LLC; ACAC LLC; ANTHONY MICHAEL
     ALBERTO, JR.; and MONTY CREW LLC;
22
                Relief Defendants.
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 1           Plaintiff Securities and Exchange Commission (the “SEC”) submits this supplemental
 2   memorandum of points and authorities in support of the Court’s entry of a preliminary injunction
 3   against Defendants Matthew W. Beasley; Beasley Law Group PC; Jeffrey J. Judd; Christopher
 4   R. Humphries; J&J Consulting Services, Inc., an Alaska Corporation; J&J Consulting Services,
 5   Inc., a Nevada Corporation; J and J Purchasing LLC; Shane M. Jager; Jason Jongeward; Denny
 6   Seybert; and Roland Tanner (together herein, “Defendants”), and a continuing asset freeze
 7   against Defendants and Relief Defendants The Judd Irrevocable Trust; PAJ Consulting Inc.; BJ
 8   Holdings LLC; Stirling Consulting, L.L.C.; CJ Investments, LLC; JL2 Investments, LLC;
 9   Rocking Horse Properties, LLC; Triple Threat Basketball, LLC; ACAC LLC; Anthony M.
10   Alberto, Jr.; and Monty Crew LLC (together herein, “Relief Defendants”).
11           As discussed at length in the SEC’s ex parte motion for a temporary restraining order and
12   other equitable relief (Dkt. No. 2), bank records and witness testimony obtained in the SEC’s
13   investigation confirm that investors have invested millions of dollars in Defendants’ “purchase
14   agreement” investment scheme, based on false and misleading promises (both orally and in
15   writing) that their investments would generate annual returns for investors of 50 percent from
16   litigation finance arrangements with attorneys and litigation plaintiffs around the country. In fact,
17   as Defendant Beasley during his March 3, 2022 standoff with the FBI, and as is evidenced by
18   bank records for Beasley’s attorney trust (“IOLTA”) account (the “Beasley Account”) and by
19   supporting declaration of one of the same attorneys who was purportedly generating profits for
20   the scheme, there was no network of attorneys or plaintiffs generating profits for investors, and
21   investor money was instead spent making payments to earlier investors and promoters and
22   supporting Defendants’ lavish lifestyles.
23      I.      THE EVIDENCE SUPPORTS PRELIMINARY INJUNCTIVE RELIEF.
24           The evidence presented in the SEC’s motion for a temporary restraining order, by itself,
25   is sufficient to support the entry of a preliminary injunction, in the form attached hereto as
26   Exhibit A, extending the temporary injunctive relief and asset freeze in the Court’s April 13,
27   2022 Temporary Restraining Order and Orders (1) Freezing Assets; (2) Requiring Accountings;
28   (3) Prohibiting the Destruction of Documents; and (4) Granting Expedited Discovery; and (5)




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 1   Order to Show Cause re Preliminary Injunction entered by the Court on April 13, 2022 (the
 2   “Temporary Restraining Order”) (Dkt. No. 3.) A plaintiff seeking a preliminary injunction must
 3   “demonstrate ‘that he is likely to succeed on the merits, that he is likely to suffer irreparable
 4   harm in the absence of preliminary relief, that the balance of equities tips in his favor, and that an
 5   injunction is in the public interest.’” SEC v. Banc de Binary Ltd., 964 F. Supp. 2d 1229, 1232
 6   (D. Nev. 2013), quoting Stormans, Inc. v. Selecky, 586 F. 3d 1109, 1127 (9th Cir. 2009); see
 7   Winter v. NRDC, 555 U.S. 7, 20 (2008). Each of these factors is satisfied here.
 8            First, the SEC has provided a prima facie case that each of the Defendants violated the
 9   federal securities laws, as discussed at length in the SEC’s TRO Motion:
10            •   Each of the Defendants violated the registration provisions of Sections 5(a) and 5(c)
11                of the Securities Act [15 U.S.C. § 77e(a), (c)] by offering and selling securities (the
12                litigation finance “Purchase Agreements”) without a registration statement as to those
13                securities and without a valid exception to such registration. 1 Section 5 is a strict
14                liability offense, and thus Defendants’ state of mind does not provide any exception
15                to Section 5’s registration requirements. 2
16            •   Defendants Judd, Humphries, Jager, Jongeward, Seybert, and Tanner violated the
17                broker registration provisions of Section 15(a)(1) of the Exchange Act [15 U.S.C.
18                § 78o(a)(1)] by each soliciting at least dozens of investors to invest in the “Purchase
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     1
         See Europe & Overseas Commodity Traders, S.A. v. Banque Paribas London¸147 F.3d 118,
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     124 (2d Cir. 1998) (quoting In re Command Credit Corp., No. 3-8674, 1995 SEC LEXIS 989, at
22
     *2 (S.E.C. Apr. 19, 1995)) (“The elements of [an] action for violation of Section 5 are (1) lack of
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     a registration statement as to the subject securities; (2) the offer or sale of the securities; and (3)
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     the use of interstate transportation or communication and the mails in connection with the offer
25
     or sale.”)
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     2
         See Aaron v. SEC, 446 U.S. 680, 714 n.5 (1980); SEC v. Parkersburg Wireless Ltd. Liab. Co.,
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     991 F. Supp. 6 at 9 (“whether [defendant] was an unwitting participant in this complex scheme
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     [is] of no moment”).



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 1                Agreements” and by being paid for that solicitation in the form of transaction-based
 2                compensation, all without being registered as a broker or being associated with a
 3                registered broker. 3 As with Section 5, Section 15(a)(1) is a strict liability statute, and
 4                proof of Defendants’ state of mind is not required. 4
 5            •   Defendants Beasley, Beasley Law Group PC, Judd, the J&J Entities, and Humphries
 6                violated the antifraud provisions of Section 17(a) of the Securities Act [15 U.S.C.
 7                § 77q(a)(1)] by, in the offer and sale of the “Purchase Agreements,” employing
 8                devices and schemes to defraud, receiving money or property by means of untrue
 9                statements of material fact and omissions, and engaging in transactions, practices, and
10                courses of business which operated as a fraud and deceit. As established in the
11                evidence submitted in and attached to the Declaration of Joni Ostler (attached to the
12                TRO Motion as Exhibit C), and the Supplemental Declaration of Joni Ostler, attached
13                hereto as Exhibit B) 5, these defendants made misrepresentations and failed to
14                disclose to investors that the money invested was not, as represented, being used to
15                provide loans to plaintiffs and their attorneys in advance of litigation settlements, but
16                instead was being used to pay previous investors in the scheme and to fund
17                Defendants’ personal expenses. Each of the defendants did so with at least severe
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     3
         See generally SEC v. RMR Asset Mgmt. Co., 479 F. Supp. 3d 923, 926 (S.D. Cal. 2020); SEC v.
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     Feng, 935 F.3d 721, 731 (9th Cir. 2019).
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     4
         See SEC v. Interlink Data Network, No. 93 3073 R, 1993 WL 603274, *10 (C.D. Cal. Nov. 15,
23
     1993)
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     5
         These declarations—including any portions of which are hearsay—may be considered by the
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     Court for purposes of the upcoming preliminary injunction hearing. That is because “[a] district
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     court may . . . consider hearsay in deciding whether to issue a preliminary injunction.” Johnson
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     v. Couturier, 572 F.3d 1067, 1083 (9th Cir. 2009) (citing Republic of the Philippines v. Marcos,
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     862 F.2d 1355, 1363 (9th Cir. 1988) (en banc)).



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 1                 recklessness (with respect to violations of 17(a)(1)) and with negligence (with respect
 2                 to violations of Sections 17(a)(2) and (a)(3)). 6
 3             •   Defendants Beasley, Beasley Law Group PC, Judd, the J&J Entities, and Humphries
 4                 also violated the antifraud provisions of Section 10(b) of the Exchange Act [15
 5                 U.S.C. § 78j(b)] and Exchange Act Rule 10b-5 [17 C.F.R. § 240.10b-5] by, with
 6                 scienter, employing devices, schemes, and artifices to defraud; making untrue
 7                 statements of material fact and omissions; and engaging in acts, practices, and course
 8                 of business which operated as a fraud and deceit, in connection with the purchase and
 9                 sale of the “Purchase Agreements.” There can be no doubt that, among other things,
10                 these defendants’ misrepresentation of the basic elements of their purported
11                 investment scheme—such as the names of the litigation attorneys involved in
12                 generating profits for the scheme—while spending investor funds on personal
13                 expenses, establishes knowing or reckless conduct sufficient to violate Section 10(b)
14                 and Rule 10b-5. 7 Likewise, these defendants’ involvement in what Beasley admitted
15                 was a “Ponzi scheme”—which is established in the Declaration of Amir Salimi,
16                 attached as Exhibit D to the TRO Motion, and the Supplemental Declaration of Amir
17                 Salimi (attached hereto as Exhibit C) is prima facie evidence of scienter. 8
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         See Aaron, 446 at 701–02 (violations of Securities Act § 17(a)(1) require scienter, while claims
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     under Securities Act §§ 17(a)(2) and 17(a)(3) only require negligence).
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     7
         See, e.g., Lowry v. SEC, 340 F.3d 501, 505 (8th Cir. 2003) (the fact that a principal spends
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     investor funds on personal expenses establishes the requisite state of mind for committing
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     securities fraud).
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     8
         Where defendants operate a Ponzi scheme, the “question of intent to defraud is not debatable.”
26
     Conroy v. Shott, 363 F.2d 90, 92 (6th Cir. 1966); see also In re Agricultural Research and Tech.
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     Grp., Inc., 916 F.2d 528, 535 (9th Cir. 1990) (“debtor’s actual intent to hinder, delay or defraud its
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     creditors may be inferred from the mere existence of a Ponzi scheme”).



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 1            Second, the evidence submitted herein and in support of the TRO Motion establishes the
 2   irreparable harm necessary to support a preliminary injunction, that the balance of the equities
 3   tips in favor of the SEC, and that an injunction is in the public interest. The SEC appears “not as
 4   an ordinary litigant, but as a statutory guardian charged with safeguarding the public interest in
 5   enforcing the securities laws.” SEC v. Management Dynamics, Inc., 515 F.2d 801, 808 (2d Cir.
 6   1975). This enforcement action is brought in the public interest, and thus, the Court’s “equitable
 7   powers assume an even broader and more flexible character than when only a private
 8   controversy is at stake.” FSLIC v. Sahni, 868 F.2d 1096, 1097 (9th Cir. 1989) (quoting FTC v.
 9   H.N. Singer, Inc., 668 F.2d 1107, 1112 (9th Cir. 1982)). As discussed in the TRO Motion,
10   Defendants’ years-long fraudulent scheme and repeated violations of the securities laws—with
11   funds being solicited from investors from at least January 1, 2017 up until Beasley’s March 3,
12   2022 standoff with the FBI—is strong evidence that Defendants’ violations will be repeated
13   absent preliminary injunctive relief. See SEC v. Murphy, 626 F.2d 633, 655 (9th Cir. 1980); SEC
14   v. United Financial Group, Inc., 474 F.2d 354, 358–59 (9th Cir. 1973). And since that March 3,
15   2022 standoff, Defendants—and most especially Judd—have attempted to dissipate the millions
16   of dollars of investor money they raised from the scheme. The preliminary relief sought will
17   ensure that Defendants do not continue to violate the securities laws and dissipate funds that the
18   SEC seeks to recover, in the public interest, for the benefit of the defrauded investors.
19      II.      THE EVIDENCE SUPPORTS AN ASSET FREEZE.
20            The evidence submitted in support of the TRO Motion and herein is also sufficient to
21   support a continued freeze of Defendants’ and Relief Defendants’ assets. The Court’s equitable
22   powers include the authority to freeze assets of both parties and nonparties to prevent the
23   dissipation of assets that may be available for the benefit of investor victims. See SEC v. Hickey,
24   322 F.3d 1123, 1131 (9th Cir. 2003); SEC v. Int’l Swiss Invest. Corp., 895 F.2d 1272, 1276 (9th
25   Cir. 1990). “A party seeking an asset freeze must show a likelihood of dissipation of the claimed
26   assets, or other inability to recover monetary damages if relief is not granted.” Johnson v.
27   Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009). Here, the bank account records from Beasley’s
28   IOLTA Account—the primary hub for funds invested in the scheme—show that of the




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 1   approximately $490 million in funds that flowed into the account, only approximately $4 million
 2   remain; with the bulk of the other funds being sent to bank accounts associated with Defendants
 3   and Relief Defendants (and then used in many cases to purchase luxury real property and
 4   personal property). Without an asset freeze, it is highly likely that any investor money remaining
 5   in Defendants’ and Relief Defendants’ accounts will be spent or otherwise dissipated long before
 6   a final judgment in this action. 9
 7                                                          ***
 8            Thus, for the reasons stated herein, and for the reasons stated in the SEC’s Ex Parte
 9   Motion for a Temporary Restraining Order, the SEC respectfully requests that the Court enter a
10   preliminary injunction order and asset freeze in the form attached hereto as Exhibit A.
11
12            DATED this 19th day of April, 2022.
13                                                  __/s/ Casey R. Fronk____________________
                                                    Tracy S. Combs
14                                                  Casey R. Fronk
                                                    Attorney for Plaintiff
15                                                  SECURITIES AND EXCHANGE COMMISSION
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         While Defendants and Relief Defendants may argue that the Court should entertain global
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     carve-outs to the proposed asset freeze for living expenses and other exigencies, the language of
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     the proposed freeze provides a consistent process by which the Court may consider living
23
     expenses requests on a case-by-case basis, by providing “allowance for necessary and reasonable
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     living expenses to be granted only upon good cause shown by application to the Court with
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     notice and an opportunity for the Commission to be heard.” (See Ex. A at § VII, see also TRO
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     Order § IX.) The SEC submits that this procedure should be the standard by which the Court
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     considers asset freeze carve-outs in the future.
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